






NO. 07-98-0387-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JUNE 20, 2000



______________________________




DEAN E. LIVELY AND FOUR "J"


 INTERNATIONAL CORPORATION, APPELLANTS



V.



ROBERT E. GARRETT AND RANDALL C. JEFFERS, APPELLEES



_________________________________



FROM THE 181ST DISTRICT COURT OF RANDALL COUNTY;



NO. 42,733-B; HONORABLE SAMUEL C. KISER, JUDGE


_______________________________



Before QUINN and REAVIS and JOHNSON, JJ.

	Appellants Dean E. Lively and Four "J" International Corporation appeal from a
judgment entered against them for exemplary damages, attorney's fees, and declaratory
relief.  We reverse and render.


FACTUAL AND PROCEDURAL BACKGROUND

	In the early 1990's appellees Robert E. Garrett and Randall C. Jeffers became
partners in a general partnership called Finis Terra.  Finis Terra and appellant Dean E.
Lively became associated in land development activities in the Amarillo, Texas, area. 
Lively's involvement in the development activities was both individually and through several
business entities with which he was associated or in which he was an officer or participant. 
The land development ventures did not prove to be successful to all the participants'
expectations, and some of the Finis Terra partners, not including appellees, became
plaintiffs in a lawsuit against Lively, his various associated entities, and others.  The
litigation was filed in the 181st District Court of Randall County ("the Pre-Developer
Litigation").  The litigants attempted to negotiate a settlement agreement.  Because Finis
Terra's participation in the land development and the lawsuit was as a general partnership,
Lively needed appellees to be parties to the Release and Settlement Agreement ("the Pre-Developer Release", or "the Release") which was to settle the lawsuit and allow Lively, his
associated business entities and his associates to proceed with development of the land
which was involved in the venture.  Appellees, however, would not agree to sign the
release which was being negotiated.  

	Before they became involved in Finis Terra and its investment activities with Lively,
appellees had suffered financial difficulties in their real estate businesses.  The end result
of those prior difficulties was entry of an agreed judgment against appellees in the 108th
District Court of Potter County, Texas, in favor of Amwest Savings Association.  The
judgment was dated October 31, 1991, and was in the amount of $303,956.82, which
included principal, pre-judgment interest, and attorney's fees ("the 1991 judgment").

	During the same timeframe that the Pre-Developer Release was being negotiated,
Lively was negotiating with First American Bank, SSB ("First American"), successor to
AmWest Savings, to restructure debt on which Lively was a guarantor.  Either through his
negotiations with First American or through conversations with appellees, Lively learned
of AmWest's 1991 Judgment against appellees.  Because appellees were hesitating to
sign the Release, which Lively needed them to sign so the Pre-Developer project could
continue, Lively threatened appellees that he would purchase the 1991 Judgment from
First American to gain leverage against them in settlement negotiations.  As part of his
negotiations with First American, Lively reached an agreement with Carla Addy, a Vice
President of First American, for Lively to purchase the 1991 Judgment for $15,000.  The
sale of the Judgment by First American to Lively had to be approved by the Federal
Deposit Insurance Corporation.  FDIC's approval was obtained in early November, 1994,
but Lively had not yet reached a complete agreement with First American on restructuring
of the debt on which he was guarantor, so the sale of the 1991 Judgment was not
consummated at that time.     

	During November, 1994, the Pre-Developer Litigation settlement negotiations  were
progressing.  By the time a settlement was reached and language for the Pre-Developer
Release was finalized in late November, appellees Garrett and Jeffers had agreed to
execute the Release.  Because of the threats which Lively had made about purchasing the
1991 Judgment, appellees insisted on a clause being inserted in the Release to protect
them from Lively's threatened actions.  Thus, shortly before the Release was executed,
clause 4.4.c. became part of the Pre-Developer Release.  Clause 4.4.c. provided that: 

	Notwithstanding anything to the contrary in this Agreement, the Lively
parties, Flagship, ITC, Anthony M. Saikowski, and any other person, firm,
corporation, partnership or association owned in part of [sic] controlled in part
by Dean E. Lively agree that they will not acquire or seek to acquire any
judgment, note, lien, demand, claim, or cause of action currently held or
owned by any creditor of Finis Terra Partners, and any such acquired
judgment, note, lien, demand, debt, claim, or cause of action which may be
acquired is released hereby.

	

By definitions in the Release, appellees were each "Finis Terra Partners" and appellant
Lively was a "Lively party."  The written Release was executed effective November 30,
1994.  

	Because of the addition of clause 4.4.c. to the Pre-Developer Release, Lively
decided that he could not complete the purchase of the 1991 Judgment from First
American, despite his earlier agreement to do so.  Ms. Addy, who was negotiating with
Lively on other debts, was very disappointed when Lively told her in early December, 1994,
that he could not complete the agreed-upon purchase of the 1991 Judgment.  Being
concerned that his failing to purchase the 1991 Judgment would affect Ms. Addy's
negotiating posture on his other obligations, Lively told her that he would try to find another
purchaser for the 1991 Judgment.  He approached various persons who declined to
purchase the 1991 Judgment.  Lively approached a neighbor of his, Joseph Mangione. 
Mangione was in the real estate business, as well as being an investor in different
enterprises.  Mangione and Lively had previously become social and business friends and
had done favors for each other, although they had not been financially associated in a
business venture.  Mangione took an interest in purchasing the judgment as a business
investment.  The trial testimony is conflicting on how much, if any, contact Mangione had
with Carla Addy regarding the 1991 Judgment, but on May 31, 1995, First American sold
the 1991 judgment to appellant Four "J" International ("Four J") for $15,000.  Mangione and
his wife own all of the stock of Four J, and they are the corporate officers.  Lively and
Mangione both testified that Lively had no previous knowledge of or dealings with Four J.

	In the summer of 1995, Four J began proceedings to collect amounts due under the
judgment.  Appellees responded to the collection efforts of Four J with a lawsuit in Randall
County against Lively and Four J.  Garrett and Jeffers sought declaratory judgment that
Lively breached clause 4.4.c. of the Pre-Developer Release by controlling Four J in its
purchase of the 1991 Judgment; therefore,  the 1991 Judgment was satisfied, released
and fully discharged, and appellees had no further liability for amounts due under the
judgment.  They also sought damages and attorney's fees from appellants on the bases
that (1) Lively breached the Release; (2) Lively committed fraud by executing the Release
with clause 4.4.c. in it when he did not intend to comply with clause 4.4.c.; (3) Four J
tortiously interfered with Lively's obligations under clause 4.4.c., the Pre-Developer
Release and the relationship between appellees and Lively which the Release created; and
(4)  Lively and Four J conspired to cause Lively's breach of clause 4.4.c.  Appellees
claimed that appellants acted oppressively and with actual malice in their actions and were
therefore liable for exemplary damages.  Both Lively and Four J filed challenges to venue
in Randall County.  The venue challenges were overruled.

	Following a bench trial, judgment was entered in favor of appellees.  The 1991
Judgment against appellees was declared to be satisfied, released and discharged, and
attorney's fees and exemplary damages were awarded to appellees.  No actual damages
were awarded.  Appellants requested and the trial court entered findings of fact and
conclusions of law.  

	By eight issues Lively challenges the trial court's (1) venue determination, (2)
Findings of Fact and Conclusions of Law, and (3) judgment in favor of appellees.  Four J
does not challenge the trial court's venue ruling, but appeals the (1) Findings of Fact and 
Conclusions of Law, and (2) judgment.  

	Appellees respond that the Pre-Developer Release and the judgment based on the
Release were formulated in and arose out of prior Randall County litigation.  Thus, they
claim that a substantial part of the events or omissions (1) giving rise to their claim occurred
in Randall County, and the challenges to venue were properly overruled by the trial court. 
They then assert that the trial court correctly construed clause 4.4.c. to be unambiguous
and that the trial court's findings and judgment are based on legally and factually sufficient
evidence.  Because our conclusion that the evidence is legally insufficient to support the
trial court's finding that Lively breached the terms of clause 4.4.c. of the Pre-Developer
Release is dispositive of the appeals of both Lively and Four J, we first address Lively's
issue two and Four J's issues one and two.  

LAW

	When multiple grounds for reversal are presented on appeal, the appellate court
should first address those issues which would afford the greatest relief to an appellant. 
Bradleys' Elec., Inc. v. CIGNA Lloyds Ins. Co., 995 S.W.2d 675, 677 (Tex. 1999).  If a
challenge to venue is presented on appeal as well as an issue which warrants reversal of
the trial court judgment, we are to first address the issue which warrants reversal, and
render the judgment which the trial court should have rendered.  Id.  

	Findings of fact entered in a case tried to the bench have the same force and dignity
as a jury's verdict upon questions.  Anderson v. City of Seven Points, 806 S.W.2d 791, 794
(Tex.1991).  A trial court's findings of fact are reviewable for legal and factual sufficiency
by the same standards applied in reviewing the sufficiency of the evidence supporting a
jury's finding.  Id.  A factual finding must be supported by more than surmise or suspicion. 
Browning-Ferris, Inc. v. Reyna, 865 S.W.2d 925, 928 (Tex. 1993).  When reviewing a legal
sufficiency point, we consider only the evidence and inferences tending to support the trial
court's finding, disregarding all contrary evidence and inferences.  Wal-Mart Stores, Inc.
v. Gonzalez, 968 S.W.2d 934, 936 (Tex. 1998).  Evidence from which equally plausible but
opposite inferences may be drawn is speculative and thus legally insufficient to support a
finding.  Id.  In considering a factual sufficiency issue, we review all the evidence and
reverse only if the challenged finding is so against the great weight and preponderance of
the evidence as to be manifestly unjust.  Pool v. Ford Motor Co., 715 S.W.2d 629, 635
(Tex.1986); In Re King's Estate, 150 Tex. 662, 244 S.W.2d 660, 661 (1962).  The trier of
fact is the sole judge of the credibility of the witnesses and the weight to be given to their
testimony, Leyva v. Pacheco, 163 Tex. 638, 358 S.W.2d 547, 549 (1962), and may believe
one witness and disbelieve another and resolve inconsistencies in testimony.  McGalliard
v. Kuhlmann, 722 S.W.2d 694, 697 (Tex. 1986).

	One person or entity "controls" another person or entity by exercising restraint or
deciding influence over the other, or by dominating, regulating, or overpowering the other. 
See Board of Ins. Comm'rs v. Duncan, 174 S.W.2d 326, 329 (Tex.Civ.App.--Amarillo 1943,
writ ref'd).  "Control" of one by another may be by either an agreement governing the right
of control, or by an actual exercising of control.  See Coastal Marine Serv. of Texas, Inc.
v. Lawrence, 988 S.W.2d 223, 226 (Tex. 1999).  Evidence of the possibility of control is not
evidence that the right of control exists or that actual control is exercised.  Id. 

ANALYSIS

	Appellants and appellees developed and tried the case in the trial court on the
question of whether Four J was "controlled" in part by Lively within the meaning of clause
4.4.c., and the theory that if it was, then Lively breached the terms of clause 4.4.c. of the
Pre-Developer Release.  As noted above, the other claims asserted by appellees against
appellants (fraud by Lively, tortious interference with contract by Four J, and civil
conspiracy) are necessarily based on a finding that Lively breached clause 4.4.c. 
Therefore, we first consider the evidentiary challenges of appellants to the trial court's
finding that Four J was "controlled" in part by Lively in relationship to Four J's acquisition
of the 1991 Judgment, within the meaning of clause 4.4.c.

	The trial court concluded as a matter of law that clause 4.4.c. of the Pre-Developer
Release is not ambiguous.  Neither appellants nor appellees urge on appeal that clause
4.4.c. is ambiguous, but, rather, assert that it is not ambiguous.  We treat the clause as
unambiguous.

	Appellees do not contend that Lively owned any part of Four J; nor do they contend
that in general business matters Lively controlled Four J in whole or in part.  They maintain,
however, that the record contains proof that Lively controlled Four J's involvement in the
purchase of the 1991 Judgment "from beginning to end."  The evidence appellees cite to
support such conclusion is included in our factual recitation above.  Additionally, appellees
point to testimony of Joseph Mangione that he and Four J would not have heard of or been
involved in purchasing the 1991 Judgment had it not been for Lively.  Lively provided
information about Four J to Carla Addy so assignment of the Judgment could be made to
Four J, and Lively acted as courier between Four J and First American as to physical
transfer of the assignment of the judgment.  None of these actions qualify as evidence that
Lively dominated or exercised a determining influence, in whole or in part, over Four J's
(1) decision to inquire about the Judgment, (2) decision to make an offer to purchase the
Judgment, or (3) decision to consummate purchase of the Judgment in May, 1995.   

	The record does not contain direct evidence that Lively exercised or had the right
to exercise, in whole or in part, a deciding, dominating, regulating, or determining influence
over Four J in its purchase of the 1991 Judgment.  Lively denied any control over, and
even knowledge of the existence of, Four J until shortly before the judgment was assigned
by First American in May, 1995.  Mangione, as president of Four J, denied that Lively
exerted any control over Four J's decision whether to purchase the Judgment.  Mangione
testified that Lively advised him Lively could not purchase the Judgment because of an
agreement Lively had made, but that Lively thought the Judgment would be a good
business venture.  Mangione  asserted that the decision to purchase the Judgment was
his alone; that Lively had no interest in Four J, no control over Four J, no interest in any
proceeds from the Judgment; and that the decision to purchase the Judgment was based
on Mangione's examination of a credit report on appellees and the fact that Four J would
be purchasing the judgment for "five cents on the dollar."  No witnesses other than Lively
and Mangione purported to have knowledge of what type of relationship existed between
Lively and Four J.  After Four J began collection efforts on the Judgment, appellee Jeffers
approached Lively.  Lively stated that he would see what he could do about the matter, but
did not say that he had any control over or right to control Four J to any extent.  Jeffers'
testimony made no reference to Lively's relationship to Four J during the time Four J was
considering purchasing the 1991 Judgment, or when Four J purchased the Judgment.

	The record demonstrates that Lively was aware that he could not purchase the 1991
Judgment after he executed the Pre-Developer Release, and that he was highly motivated
to have the Judgment purchased from First American so that his on-going negotiations with
First American would not be compromised.  A pre-existing social and business relationship
between Lively and Mangione is not controverted.  Carla Addy looked to Lively to find a
purchaser for the 1991 Judgment in accordance with the sale price approved by the FDIC,
and she considered the sale of the Judgment a "Lively deal."  Lively approached various
potential purchasers of the Judgment and was not successful in finding a purchaser until
Mangione expressed interest.  Lively facilitated Four J's purchase of the 1991 Judgment,
much as a broker or attorney might facilitate a transaction for a friend or client by making
suggestions, disclosing information and assisting with contracts or assignments.  But,
assisting an entity in a transaction does not equate to "control" of the entity which is
entering into the transaction.  The trial evidence does not create a stronger inference that
Lively exercised or had the right to exercise any deciding influence over, any domination
of, subjection or overpowering of Four J to any extent in its decision to purchase the
Judgment, than the evidence creates an inference that Four J made an independent
business decision to purchase the Judgment because of the possibility of multiplying its
investment through collection of all or part of the Judgment. 

	The trial court, as fact finder and judge of witness credibility, could have disbelieved
or discounted the testimony of Lively and Mangione that Lively had no control over Four
J.  But, disbelieving such testimony would not create affirmative evidence that Lively
controlled Four J, which was the burden of proof borne by appellees.  Circumstantial
evidence may be used to establish material facts.  However, where the circumstantial
evidence only creates suspicion or surmise, we must sustain a challenge to its legal
sufficiency.  Browning-Ferris, Inc., 865 S.W.2d at 928.   

	We sustain the challenges of Lively's second issue and Four J's first and second
issues to the legal sufficiency of the evidence to support the finding that Lively breached
clause 4.4.c. of the Pre-Developer Release.  Because our disposition of Lively's second
issue and Four J's first and second issues is determinative of their appeal, we do not
address the remainder of their issues, including Lively's challenge to the trial court's venue
ruling.  Tex. R. App. P. 47.1;  Bradleys' Elec., Inc., 995 S.W.2d at 676-77.

	The judgment of the trial court is reversed and judgment is rendered that appellees
take nothing.     


							Phil Johnson

							     Justice






Do not publish.
1. See Tex. Civ. Prac. &amp; Rem. Code Ann. § 15.002(a)(1) (Vernon Supp. 2000).


